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       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                             CENTRAL DIVISION


 UNITED STATES OF AMERICA,

  Plaintiff,                                               JOINT STIPULATIONS

 v.

 CLAUD R. KOERBER,                                       Case No. 2:17-CR-37-FB-PMW
  Defendant.                                             District Judge Frederic Block
                                                        Magistrate Judge Paul M. Warner


       Attorneys for the Government and Attorneys for the Defendant do hereby stipulate and

agree to the following:

       1. Bank documents obtained from the seventy-three (73) bank accounts attached hereto

           as Exhibit 1 are stipulated to be authentic pursuant to Rule 901 of the Federal Rules

           of Evidence. Furthermore, the parties stipulate that the bank documents obtained

           from the seventy-three (73) accounts described herein meet the hearsay exception

           contained in Rule 803(6) of the Federal Rules of Evidence.

       2. At all times relevant to the charges in the Indictment in this case, JP Morgan Chase

           Bank was insured by the Federal Deposit Insurance Company (FDIC) as defined in

           section 3(h) of the Federal Deposit Insurance Act (12 U.S.C. §1831(h)).
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3. At all times relevant to the charges in the Indictment in this case, JP Morgan Chase

   Bank is a financial institution within the meaning of 31 U.S.C. 5312(a)(2).

4. At all times relevant to the charges in the Indictment in this case, Steve Harris

   Imports (an automobile dealer) is a Financial Institution within the meaning of 31

   U.S.C. 5312(a)(2)(T) (Business engaged in vehicle sales, including automobile,

   airplane, and boat sales.)

5. The wire transfers alleged in Counts 7 – 15 of the Indictment were transmitted by

   means of wire in interstate commerce.

6. The following Government Exhibits are stipulated to be authentic pursuant to Rule

   901 of the Federal Rules of Evidence. Furthermore, the parties stipulate that they

   meet the hearsay exception contained in Rule 803(6) of the Federal Rules of

   Evidence.

       a. Exhibits 2-13(a)

       b. Exhibits 15-15(b)

       c. Exhibits 16-16(a)

       d. Exhibit 101

DATED this 26th day of April, 2018.


                                      /s/ Kathryn N. Nester
                                      Attorney for Claud R. Koerber
                                      Federal Public Defender


                                      /s/ Ruth Hackford-Peer
                                      Assistant United States Attorney
                                      U.S. Attorney’s Office for the District of Utah




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